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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

)
TYRONE WILLIAMS, )
)
Plaintiff, )
)
V. )
) Civil Action No. 22-0753 (RJL)
ROBERT A. DIXON, In His Official )
Capacity, as United States Marshal for the )
Superior Court of the District of Columbia, )
)
Defendant. )
)
SCHEDULING ORDER

Upon consideration of the Parties Report of Local Civil Rule 16.3 Conference, it is hereby

ORDERED that the following schedule shall govern proceedings in this case:

Deadline to Exchange Initial Disclosures July 21, 2023

Deadline to Join Additional Parties August 4, 2023

Deadline to Amend the Pleadings August 4, 2023

Plaintiff's Rule 26(a)(2) Expert Disclosures November 6, 2023

Defendant’s Rule 26(a)(2) Expert Disclosures January 8, 2024

End of Discovery January 22, 2024
SO ORDERED

Date: 5 Sui)
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United States Magistrate Judge
